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4
     Attorney for defendant
5    VICTOR GONZALEZ

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7
                              IN THE UNITED STATES DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA                     No. CR-S-11-076
11
                               Plaintiff,         STIPULATION AND ORDER TO
12
                                                  CONTINUE STATUS CONFERENCE
          v.
13
                                                  Date: March 5, 2013
14   VICTOR GONZALEZ, et, al.,                    Time: 9:15 a.m.
                                                  Judge: Hon. Lawrence K. Karlton
15                         Defendants.
16

17         IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, SAMUEL WONG, Assistant United States Attorney, attorney for

19   plaintiff; MICHAEL E. HANSEN, attorney for defendant NORMA GONZALEZ; DOUGLAS
     BEEVERS, attorney for defendant CRESCENCIO DELGADO-EZQUIVEL; DANNY D.
20
     BRACE, JR., attorney for defendant ARMANDO VASQUEZ-BARRANGAN; DINA SANTOS,
21
     attorney for defendant WALDO PEREZ-MENDOZA; and DWIGHT M. SAMUEL, attorney
22   for defendant VICTOR GONZALEZ, that the previously scheduled status conference date
23   of January 29, 2013, be vacated and the matter set for status conference on March 5, 2013,
24   at 9:15 a.m.

25         This request is made to allow the United States to send plea agreements to those
     defendants who want to resolve their cases and then set the matter for a trial setting
26
     conference for any defendants who want to proceed to trial.
27
           The government and defendants agree that exclusion of time is appropriate under 18
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     U.S.C. § 3161(h)(7)(B)(iv), Local Code T4 [reasonable time to prepare], and further agree

                                                   1
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1    that this exclusion of time includes the period from January 29, 2013, up to and including
2    March 5, 2013. It is further agreed and stipulated that the ends of justice served in granting

3    this request outweigh the best interests of the public and the defendants in a speedy trial.

4           SO STIPULATED
5                                                            Respectfully submitted,
6
            Dated: January 25, 2013                          By: /s/ Dwight M Samuel
7                                                            DWIGHT SAMUEL
8                                                            Attorney for Defendant
                                                             VICTOR GONZALEZ
9
10          Dated: January 25, 2013                          BENJAMIN WAGNER
                                                             United States Attorney
11                                                            /s/ Dwight M Samuel for
                                                             SAMUEL WONG
12
                                                             Assistant U.S. Attorney
13

14          Dated: January 25, 2013                           /s/ Dwight M Samuel for
                                                            DOUG BEEVERS
15                                                          Attorney for Defendant
                                                           CRESCENCIO DELGADO-ESQUIVEL
16

17          Dated: January 25, 2013                            /s/ Dwight M Samuel for
                                                             MICHAEL E. HANSEN
18                                                           Attorney for Defendant
                                                             NORMA GONZALEZ
19
            Dated: January 25, 2013                            /s/ Dwight M Samuel for
20
                                                             DANNY D. BRACE, JR
21                                                           Attorney for Defendant
                                                             ARMANDO VASQUEZ-BARRAGAN
22
            Dated: January 25, 2013                            /s/ Dwight M Samuel for
23                                                           DINA SANTOS
24                                                           Attorney for Defendant
                                                             WALDO PEREZ-MENDOZA
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1                                                ORDER
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             For the reasons set forth in the foregoing Stipulation of Counsel, IT IS ORDERED
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     THAT:
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             The Status Conference now set for January 29, 2013, at 9:15 a.m. is VACATED, and
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     the above-captioned matter is set for Status Conference on March 5, 2013 at 9:15 a.m.
6
             The Court finds excludable time in this matter through March 5, 2013, under 18
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     U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow continuity of counsel and
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     reasonable time necessary for effective defense preparation. For the reasons stipulated by
9
     the parties, the Court further finds that the interest of justice served by granting the request
10
     outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
11
     §3161(h)(7)(B)(iv) and Local Code T4.
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             Dated: January 29, 2013
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